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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

    Plaintiff,

    v.                                                Criminal Action No. 17-232-EGS

    MICHAEL T. FLYNN,

    Defendant.




             MR. FLYNN’S EXHIBIT SUPPLEMENT TO SUPP. MOTION TO
              WITHDRAW PLEA OF GUILTY AND BRIEF IN SUPPORT

         Exhibit 35 to Mr. Flynn’s Supplemental Motion to Withdraw Plea of Guilty was

inadvertently omitted from ECF. No. 160. That document is attached hereto.

 Dated: January 29, 2020                    Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 29, 2020, a true and genuine copy of this supplement was

served via electronic mail by the Court’s CM/ECF system to all counsel of record, including:

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